Entered: May 18, 2012        Case 10-37371   Doc 504    Filed 05/18/12     Page 1 of 3
Signed: May 18, 2012
SO ORDERED
No response or objection.




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF MARYLAND
                                            (Greenbelt Division)

        In re:                                      *

        KH FUNDING COMPANY,                         *       Case No. 10-37371-TC
                                                            (Chapter 11)
                         Debtor.                    *

        *        *       *       *    *      *      *       *      *       *      *      *       *

                         ORDER ALLOWING FINAL COMPENSATION TO
                       STEGMAN & COMPANY FOR SERVICES RENDERED
                       AND REIMBURSEMENT OF EXPENSES INCURRED AS
                 ACCOUNTANT TO THE DEBTOR DURING THE PERIOD AUGUST 1, 2011
                                THROUGH FEBRUARY 28, 2012


                         Upon consideration of the Second and Final Application of Stegman & Company

        for Allowance of Compensation for Services Rendered and Reimbursement of Expenses Incurred

        as Accountant to the Debtor During the Period August 1, 2011 Through February 28, 2012,

        notice of the Application having been given, and the Court having considered any response made

        thereto, and the Court having found that the compensation requested is reasonable and should be

        allowed; it is

                         ORDERED, that the Application is GRANTED and Stegman & Company be and

        is hereby allowed compensation in the total amount of $11,750.00 for services rendered and

        expenses incurred during the period August 1, 2011 through February 28, 2012; and it is further


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                ORDERED, that the allowance of interim compensation previously authorized by

the Court to Stegman & Company be and it is ratified and approved as a final allowance of

compensation.

cc:
        Lawrence D. Coppel, Esquire
        Gordon Feinblatt LLC
        233 East Redwood Street
        Baltimore, MD 21202

        Gerald A. Walsh, CPA
        Stegman & Company
        405 East Joppa Road, Suite 100
        Baltimore, MD 21286

        Gerard R. Vetter, Esquire
        Jeanne M. Crouse, Esquire
        Office of the United States Trustee
        6305 Ivy Lane Suite 600
        Greenbelt, Maryland 20770

        Irving C. Apar, Esquire
        Thompson Hine LLP
        335 Madison Avenue 12th Floor
        New York, New York 10017

        Curtis L. Tuggle, Esquire
        Thompson Hine LLP
        3900 Key Center
        127 Public Square
        Cleveland, Ohio 44114

        Tina N. Moss, Esquire
        Pryor Cashman LLP
        7 Times Square
        New York, New York 10036

        Bradford J. Sandler, Esquire
        Pachulski Stang Ziehl & Jones LLP
        919 N. Market Street, 17th Floor
        P.O. Box 8705
        Wilmington, Delaware 19899-8705




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        Robert L. Harris, President
        KH Funding Company
        10801 Lockwood Drive, Suite 370
        Silver Spring, Maryland 20901

        BDO Consulting
        c/o Michele Michaelis
        100 Park Avenue
        New York, New York 10017


                                      End of Order




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